IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROXANNE THOMPSON,
83 A Cooper Street
Brooklyn, New York 11207

Plaintiff, : Civil Action No.: 18-3817
-against-
KATHY L. RUMER, D.O., F.A.C.O.S. : PRETRIAL MEMORANDUM
105 Ardmore Avenue : PURSUANT TO F.R.C.P. 26(a)(3)
Ardmore, PA 19003 : AND LOCAL RULE 16.1

and

DELAWARE VALLEY AESTHETICS, PLLC
d/b/a RUMER COSMETIC SURGERY,

105 Ardmore Avenue
Ardmore, PA 19003

Defendants.

Plaintiff expects to call Jess Ting, M.D., as its medical expert in this matter. Dr. Ting is
expected to testify that Dr. Rumer departed from good and accepted medical practice and
medical standards of care in her performance of gender reassignment surgery and post-

surgical care and treatment; in her failure to conduct a course of permanent hair removal

prior to vaginoplasty; and in her failure to appropriately size clitoris and remove erectile
tissue around the clitoris and urethera. Dr. Ting is also expected to testify that due to
defendant’s medical malpractice, plaintiff has hair permanently growing inside her vagina
requiring painful laser treatments to eliminate the hair that can be removed; plaintiff has
an oversized clitoris without clitoral hood which is hypersensitive to rubbing and overlying
clothing which permanently affects her ability to achieve orgasm or sexual satisfaction
without pain, even after 3 surgical revision procedures; vaginal canal had strictures, skin
webs and lack of depth, excessive erectile tissue, and absent labia minora, which required
surgical revision. Plaintiff also expects to call Juancy Rodriguez FNP-BC, Sue Weiss FNP
and/or Toviah Narva ANP-BC, of Callen-Lorde, 356 W. 18" Street, New York, New York,
to testify to the physical and psychological effects and impact that the medical malpractice
committed by Dr. Rumer have upon the everyday life of plaintiff Roxanne Thompson.
In addition to plaintiff, it is expected that the following fact witnesses will testify at the
time of trial: Kevin Crawford and Antoine Bouie. Both Kevin Crawford and Antoine Bouie
are expected to testify that plaintiff Roxanne Thompson was compliant with all pre-
operative and post-operative care and instructions provided by Dr. Rumer. They are also
expected to testify to the physical and psychological effects and impact that the medical
malpractice committed by Dr. Rumer have upon the everyday life of plaintiff Roxanne
Thompson.

Plaintiff expects to offer the following pages and lines from the deposition of defendant
Kathy Rumer, D.O. taken on May 3, 2019: Pg. 1; Pg. 2; Pg.3; Pg. 4; Pg.-5; Pg. 6, Lines 1-
13, 20-25; Pg. 7, Lines 1-9, 13-24; Pg. 8; Pg. 9; Pg. 10; Pg. 11; Pg. 12; Pg. 13; Pg. 14, Pg.
15; Pg. 16; Pg. 17, Lines 1-12, 15-24; Pg. 18; Pg. 19; Pg. 20; Pg. 21; Pg. 22; Pg. 23; Pg.
24, Lines 1-5, 9-24; Pg. 25; Pg. 26; Pg. 27; Pg. 28, Lines 1-12, 19-21; Pg. 30, Lines 13-15,
18-24; Pg. 31; Pg. 32; Pg. 33; Pg. 24; Pg. 34; Pg. 35; Pg. 36; Pg. 37; Pg. 38; Pg. 39; Pg.
40; Pg. 41; Pg. 42, Lines 1-1-6, up to the word “Possibly”, Lines 17-24; Pg. 43; Pg. 44; Pg.
45; Pg. 46, Lines 1-23; Pg. 47, Lines 3-24; Pg. 48; Pg. 49; Pg. 50; Pg. 51, Lines 1-3, 6-24;
Pg. 52; Pg. 53; Pg. 54; Pg. 55; Pg. 56; Pg. 57, Lines 1-12, 16-24; Pg. 58, Lines 1-7, 11-18;
Pg. 59, Lines 3-24; Pg. 60; Pg. 61; Pg. 62; Pg. 63, Pg. 64, Line 1, 5-24; Pg. 65; Pg. 66,
Lines 1-16; Pg. 67; Pg. 68; Pg. 69; Pg. 70, Lines 1-9, 17-24; Pg. 71; Pg. 72; Pg. 73; Pg. 74;
Pg. 75; Pg. 76; Pg. 77; Pg. 78; Pg. 79, Lines 1-5, 9-24; Pg. 80; Pg. 81; Pg. 82; Pg. 83; Pg.
84; Pg. 85; Pg. 86; Pg. 87; Pg. 88; Pg. 89; Pg. 90; Pg. 91; Pg. 92; Pg. 93; Pg. 94, Lines 1-
4.

Plaintiff Roxanne Thompson, demands compensatory damages against defendant Kathy L.
Rumer, D.O., F.A.C.O.S., in an amount in excess of Seventy-Five Thousand Dollars, plus
interest, costs and damages for pre-judgment delay, for the First and Second Counts of
Negligence as follows:

(a) Compensatory damages in an amount supported by the evidence at trial;

(b) Damages including: pain, mental anguish, impairment, disfigurement, loss
of life’s pleasures, reasonable and necessary past and future medical
expenses;

(c) | Anaward for attorney’s fees, pre-judgment and post-judgment interest, and
costs of suit, as provided by law; and

(d) Such other legal and equitable relief this Court deems just.

None.

 

   
  

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